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        EXHIBIT A-26
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                                                ye wen [name]
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                                   Above All released Allison



                                   and            cash function has been banned, please reinstate USDT function




                                         indicated that it has been manually banned, please see the following reasons, thanks




            AE equity carve-out

                                                          banned not long ago, probably liquidating now




                    please take a look at this account, because he deposited the equity carve-out of AE last week, 2BTC was frozen. What should we do now?


                                  AE was removed [from trading], that's why we do not have the exchange rate to calculate the value in BTC, that's why they
                                  ban it temporarily in order to prevent platform loss. Can he return part of the amount? Or can we unbanned him since he has
                                  a big account?

                    Please reinstate the withdraw function, I will take a look at the amount


                  Done reinstating


                  Thank you


                   I just checked, there is only 3066.09208901 AE in client's account, how can we deduct the rest


                   We can deduct the rest from other currencies



                                                                              AE was removed [from trading], that's why we do not have the exchange rate to
                                                                              calculate the value in BTC, that's why they ban it temporarily in order to prevent
       AE exchange was fixed at 8:40 am this morning, is it useful to you?    platform loss. Can he return part of the amount? Or can we unbanned him since he has
                                                                              a big account?


                                                                               AE was removed [from trading], that's why we do not have the exchange rate to
                                                                               calculate the value in BTC, that's why they ban it temporarily in order to prevent
      AE exchange was fixed at 8:40 am this morning, is it useful to you?      platform loss. Can he return part of the amount? Or can we unbanned him since he has
                                                                               a big account?
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         Where is this maintenance function.....


         Ok, if we convert to BTC, how much do we need to deduct? I will go talk to the client


        Can you ask the client to replenish 90004.43596 AE to the original address[?] It is more troublesome to deal with such big amount




         Hasn't the AE replenish function been stopped already[?]


         15578013's withdraw function has been banned again [,] Waylen (Risk is that the same AE transaction?


         Just send it to the same replenish address like before to complete the deposit


         The withdraw function looks normal, but will check the daily ledger to see if there is any withdraw application, could be slow and need to wait



        Yes, it was temporarily banned last night, should I unban it if it is a big account client?


         OK
         OK




        Allison please tell the client to return 115000 AE thanks


                                           it is also a AE"s case, big account, let me unban it first, ha




         Ok, please ask the client to return 4498AE Jennifer (VIP)




    has this 115000 AE been replenished into the account yet?
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                                                               unbanned the big account client already.


       Other platforms have been banning replenishment by withdraw, clients now have trouble replenishing


       38549436 and 35781427 are our internal otc accounts[,] was marked as using US IP, no tradings have been banned


       See if you can quickly unban[?]




       no can do, I will apply for whiting-listing, see if people at development department is still around, cache will respond an hour late after white-listing


       Ok please expedite this[,] I want to ask is this because we used US VPN[?]


       Should I give you both main and sub accounts[?] or just the main account OK[?}\]


      main account


      kk then just the above 2 accounts


      what's the criteria for white-listing[?] If the client is not an American but currently in the US/vpn located in the US[,] will the client be ban[ned?]


                                what's the criteria for white-listing[?] If the client is not an American but currently in the US/vpn located in the US[,] will the client be
        ban[ned?] After we verify this under this situation can we white-list the client[?]


      Verify with Vince, there's a form that needs to be filled out


      [The client] will be banned once the IP fits the profile, no matter what VPN is about


       I see[,] he seems like




       not really[,] is there TXID[?]
